Case 0:19-cv-62992-JEM Document 55 Entered on FLSD Docket 01/06/2020 Page 1 of 10



                       UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF FLORIDA
                         FORT LAUDERDALE DIVISION


  FLORIDA HEALTH SCIENCES CENTER, INC.,
  et al,
                                             Case No. 0:19-cv-62992-CIV
                 Plaintiffs,                      MARTINEZ/Snow

  v.

  RICHARD SACKLER, et al,

                 Defendants.




                      PLAINTIFFS’ REPLY MEMORANDUM
                IN SUPPORT OF EXPEDITED MOTION TO REMAND
Case 0:19-cv-62992-JEM Document 55 Entered on FLSD Docket 01/06/2020 Page 2 of 10



         Plaintiffs, Florida Health Sciences Center, Inc., North Broward Hospital District, Halifax

  Hospital Medical Center, Bayfront HMA Medical Center, LLC, CGH Hospital, Ltd., Central

  Florida Health, Citrus HMA, LLC, Crestview Hospital Corporation, Delray Medical Center, Inc.,

  Flagler Hospital, Inc., Good Samaritan Medical Center, Inc., Haines City HMA, LLC, Hernando

  HMA, LLC, Hialeah Hospital, Inc., HMA Santa Rosa Medical Center, LLC, Key West HMA,

  LLC, Lake Shore HMA, LLC, Lake Wales Hospital Corporation, Larkin Community Hospital

  Palm Springs Campus, LLC, Leesburg Regional Medical Center, Inc., Lifemark Hospitals of

  Florida, Inc., Live Oak HMA, LLC, Naples HMA, LLC, North Shore Medical Center, Inc.,

  Osceolasc LLC, Palm Beach Gardens Community Hospital, Inc., Port Charlotte HMA, LLC, Punta

  Gorda HMA, LLC, St. Mary's Medical Center, Inc., Starke HMA, LLC, The Villages Tri-County

  Medical Center, Inc., Venice HMA, LLC, Larkin Community Hospital, Inc., Larkin Community

  Hospital Behavioral Health Services, Inc. (collectively, “Plaintiffs”), by and through undersigned

  counsel, hereby submit this reply memorandum in support of the Expedited Motion to Remand

  and Supplemental Motion (D.E. 10 and 13, construed by the Court as an amended motion, referred

  to hereinafter as the “Remand Motion”). For the reasons stated below, and in Plaintiffs’ initial

  moving papers, the motion should be granted.

  I.     Argument

         A. Defendants’ Federal Question argument is Still Baseless
         Defendants dedicated the majority of the Opposition to Plaintiffs’ Motion to Remand (D.E.

  40, hereinafter, “Opposition”) to rehash arguments raised in another motion that was filed

  separately in this action. Not directly responding showed the weakness in Defendants’ arguments

  on the core issue concerned in the Remand Motion: whether federal question jurisdiction exists in

  this action. It does not. As the Remand Motion and the Complaint demonstrated, this action raises



                                                  1
Case 0:19-cv-62992-JEM Document 55 Entered on FLSD Docket 01/06/2020 Page 3 of 10



  exclusively state law claims and no claim asserted by Plaintiffs arises under any federal statutes.

  Thus, the case belongs in state court.

         As stated in the Remand Motion, the “federal question” issue is not novel and is not in

  dispute. The issue is simple for two reasons. The Supreme Court has made clear that “[t]he mere

  presence of a federal issue in a state cause of action does not automatically confer federal question

  jurisdiction,” and such jurisdiction will only lie in a very “narrow” category of cases which

  “necessarily rest” on a “substantial federal question.” Merrell Dow Pharmaceuticals, Inc. v.

  Thompson, 478 U.S. 804, 813 (1986). Second, even if a claim may be supported by a federal law

  theory which establishes federal jurisdiction (which this case does not) but also an alternative

  theory which would not require resolution of “substantial federal questions,” federal jurisdiction

  does not exist. Christianson v. Colt Industries Operating Corp., 486 U.S. 800, 810 (1988) (finding

  that if a claim is supported not only by a theory establishing federal subject matter jurisdiction but

  also by an alternative theory which would not establish such jurisdiction, then federal subject

  matter jurisdiction does not exist)). See also Plant Food Systems, Inc. v. Foliar Nutrients, Inc., No.

  6:11-cv-1880-Orl-28DAB, 2012 WL 5387701, at *6 (M.D. Fla. Oct. 3, 2012) (finding no federal

  jurisdiction existed when “there are [‘]reasons completely unrelated to the provisions and

  purposes[’] of federal []law why petitioners [‘]may or may not be entitled to the relief they seek,[’]

  the claim does not [‘]arise under[’] federal [] law”) (citation omitted).

         Notably, even the MDL Court, which Defendants offer to adjudicate this question, has

  rejected the federal question jurisdiction argument, and did so swiftly in an economical two pages

  of analysis contained in a six-page order. In Re: Nat’l Prescription Opiate Litig., MDL No. 2804

  at 5-6 (N.D. Ohio Aug, 23, 2018) (quoting Merrell Dow Pharm., 478 U.S. at 814) (remanding

  action brought by the State of Montana to a state court in Montana, finding that “the presence of a



                                                    2
Case 0:19-cv-62992-JEM Document 55 Entered on FLSD Docket 01/06/2020 Page 4 of 10



  claimed violation of the statute as an element of a state cause of action is insufficiently ‘substantial’

  to confer federal-question jurisdiction. . . . [Plaintiff] does not assert that [Defendant]’s drug

  labels violate the [federal statute]”) (emphasis added). The MDL court made the same finding in

  a later decision. In Re: Nat’l Prescription Opiate Litig., MDL No. 2804, Doc. No. 1987, at 3 (N.D.

  Ohio July, 24, 2019) (remanding actions brought by Jefferson County and Franklin County to a

  state court in Missouri, finding that “[t]here are no federal causes of action, and the claim of

  federal jurisdiction by the removing Defendant is very tenuous”) (emphasis added). 1

          Defendants’ goal is not to convince the Court that they were right on the jurisdictional issue

  – their objective is to convince the Court that there was something mysterious and complicated

  that required more than a few steps of analysis, so that the Court kicks the case down the road. But

  there is nothing here to kick down the road. As shown in the Remand Motion, courts have

  unanimously and repeatedly rejected the efforts by pharmaceutical manufacturers, distributors, and

  national retail pharmacies to characterize state law claims related to the opioid crisis as presenting

  a “federal question,” and have remanded such actions back to state court. See Remand Motion at

  3, 9-12. Defendants offer the court opinions where federal jurisdiction was based on interpretation

  and application of federal law 2 , failing to rebut the overwhelming number of opioid-related

  litigations that have rejected their position on the same issue presented here. Defendants’ omission


  1
    Defendants contended that this ruling was based on consideration of the state court judge’s
  requesting the cases to be sent back to the state court. See Opposition at 15. Defendants omitted
  the fact that the MDL court’s ruling on the issue of federal question jurisdiction was based on the
  court’s “careful[] review[] [of] the case in question.” MDL No. 2804, Doc. No. 1987, at 3 (N.D.
  Ohio July, 24, 2019). Whether the state court Judge requested the case back is irrelevant to the
  finding that “[t]here are no federal causes of action, and the claim of federal jurisdiction by the
  removing Defendant is very tenuous.” Id. (emphasis added).
  2
    See Opposition at 10, citing cases from other Circuit courts that discussed the application and
  interpretation of the “equal-footing doctrine” under the Constitution, Rivers and Harbors Act, and
  Clean Water Act, none of which are relevant to this action.

                                                     3
Case 0:19-cv-62992-JEM Document 55 Entered on FLSD Docket 01/06/2020 Page 5 of 10



  of any meaningful discussion of or reliance on the opioid cases which do address federal question

  jurisdiction underscores the weakness of their position.

         As stated in the Remand Motion, “[g]iven Defendants’ knowledge of adverse decisions by

  numerous federal courts rejecting their [‘]federal question[’] argument in removal proceedings,

  the reason for Defendants to remove this case was to delay the resolution of Plaintiffs’ claims by

  orchestrating the transfer of the case into the MDL.” Remand Motion at 4. The most that

  Defendants could show was that some courts have elected to defer consideration of the issue. But

  no court anywhere has bought the Defendants’ argument that there is federal subject matter

  jurisdiction over Plaintiffs’ state law claims. 3 It is thus unnecessary for Plaintiffs to take

  Defendants’ invitation to further opine on the irrelevant minutiae of federal law and regulations

  extensively. See Opposition at 11-13. See also Remand Motion at 12-17.

         Defendants’ argument as to whether Florida statutes impose a duty upon them to “halt or

  [‘]refuse to fill[’] suspicious orders” confirms that the Complaint raises solely state law issues.

  Opposition at 11. Whether a duty is explicitly imposed or implied under the relevant Florida

  statutes raises an issue under Florida state law, not Federal law. Regardless, when ambiguities arise




  3
    Defendants’ citations to a number of cases that were either transferred by the JPML or have been
  stayed by some courts pending transfer by the JPML added nothing to the argument on federal
  question jurisdiction. See Opposition at 5-9. Indeed, these cases were cited in support of the motion
  to stay, and were irrelevant to establish any substantial federal question was necessarily raised in
  this action. And, of those courts that have deferred to the MDL Court, some expressed an
  expectation that the MDL Court would decide the issue. See, e.g. Bd. of Cty. Comm’rs of Seminole
  Cty. v. Purdue Pharma L.P., No. 6:18-cv-00372 (E.D. Okla. Apr. 3, 2019) (cited by Defendants)
  (“The Court is confident that plaintiff’s remand motion would be heard and ruled by the MDL
  court in due time.”). Whether those district courts which have deferred to the MDL Court would
  have done so had they known that the remand motions would sit in abeyance indefinitely is
  undetermined. But consigning a threshold federal jurisdiction question to an unknown detainment
  is not a principled outcome for a court or the parties seeking to vindicate their claims.
                                                   4
Case 0:19-cv-62992-JEM Document 55 Entered on FLSD Docket 01/06/2020 Page 6 of 10



  in determining whether federal jurisdiction is established, “all doubts should be resolved in favor

  of remand to state court.” Univ. of S. Ala. v. Am. Tobacco Co., 168 F.3d 405, 411 (11th Cir. 1999).

         In sum, the Complaint asserted solely Florida state law claims, and Defendants failed to

  show a federal issue was: “(1) necessarily raised, (2) actually disputed, (3) substantial, and (4)

  capable of resolution in federal court without disrupting the federal-state balance approved by

  Congress.” Gunn v. Minton, 568 U.S. 251, 258 (2013); see also Grable & Sons Metal Prods., Inc.

  v. Darue Eng’g & Mfg., 545 U.S. 308, 315 (2005). 4

         B. Plaintiffs’ Remand Motion Should be Resolved on an Expedited Schedule
         A federal district court has an affirmative obligation to evaluate its jurisdiction. See e.g.,

  Cadet v. Bulger, 377 F.3d 1173, 1179 (11th Cir. 2004) (stating that district courts “are obligated

  to inquire into subject-matter jurisdiction sua sponte whenever it may be lacking.” (quoting

  Galindo-Del Valle v. Att'y Gen., 213 F.3d 594, 599 (11th Cir. 2000)); Bank of America, N.A. v.

  Rozier, No. 14-21294-CIV-MARTINEZ-GOODMAN, 2014 WL 12577610, at *1 (remanding

  case back to a state court sua sponte, stating that “[t]his Court’s jurisdiction over a complaint is

  not presumed”). 5 As fully explained in the Remand Motion, there exists no federal question

  jurisdiction. Each of the claims asserted in the Complaint is founded upon Florida law. Nor is there

  diversity jurisdiction or any other plausible basis that would support a finding of federal




  4
    Defendants referenced a summary judgement motion that was filed by a group of plaintiffs in the
  Opiate MDL. In that motion, the plaintiffs raised an issue under a federal statute and asked the
  court to interpret and apply the federal statute in their cases. See Opposition at 17-18. Unlike the
  parties in the MDL, Plaintiffs here pleaded solely Florida state law claims and raised no substantial
  federal question. Nor did Plaintiffs ask this Court to interpret or apply any federal statute. Thus,
  Defendants’ argument that the referenced summary judgement motion showed that a federal issue
  existed here is unfounded.
  5
   Defendants disagreed with the authorities in support of Plaintiffs’ position, but failed to cite to
  an Eleventh Circuit opinion that stated the opposite.
                                                   5
Case 0:19-cv-62992-JEM Document 55 Entered on FLSD Docket 01/06/2020 Page 7 of 10



  jurisdiction. Accordingly, this case does not belong in federal court and the Remand Motion should

  be granted expeditiously.

         Defendants’ Opposition sent the clear message that they wished not to resolve the

  jurisdictional dispute in the removal proceedings, which they initiated, but to delay any movement

  in this action. Plaintiffs request that the Court expeditiously join other district courts nationwide

  that denounce delay:

         The Court is reticent to reward what may be a deliberate strategy of filing
         unmeritorious notices of removal in order to delay—or altogether avoid—litigating
         these cases. The Court will therefore decide the motion to remand.

  Illinois Public Risk Fund v. Purdue Pharma L.P., 2019 WL 3080929, at *1 (N.D. Ill. July 15,

  2019) (granting plaintiff’s motion to remand). See also Tucson Medical Center v. Purdue Pharma

  LP, 2018 WL 6629659 (D. Ariz. Dec. 19, 2018) (granting motion to remand and denying motion

  to stay); County of Kern v. Purdue Pharma L.P., 2019 WL 3310668 (E.D. Cal. July 23, 2019)

  (granting motion to remand and denying motion to stay, finding no federal question jurisdiction

  existed); Mecklenburg Cnty. v. Purdue Pharma, L.P., 2019 WL 3207795 (E.D. Va. July 16, 2019)

  (same); and Illinois Public Risk Fund, 2019 WL 3080929 (N.D. Ill. July 15, 2019) (granting

  motion to remand, finding no federal question jurisdiction existed).

         Plaintiffs have a right to proceed in a timely manner on their claims and, equally important,

  to do so in a court which has subject matter jurisdiction. The Court does not have subject matter

  jurisdiction. The potential for transfer to the MDL does not preclude this Court from remanding:

         The pendency of a motion, order to show cause, conditional transfer order or
         conditional remand order before the Panel concerning transfer or remand of an
         action pursuant to 28 U.S.C. § 1407 does not affect or suspend order and pretrial
         proceedings in the district court in which the action is pending and does not in any
         way limit the pretrial jurisdiction of that court.

  See Rule 2.1(d) of the Rules of the Judicial Panel on Multidistrict Litigation (emphasis added).



                                                   6
Case 0:19-cv-62992-JEM Document 55 Entered on FLSD Docket 01/06/2020 Page 8 of 10



         Plaintiffs respectfully submit that the Court should expedite its consideration of remand.

  Compare:

         The Court finds that a stay is not warranted. First, [Plaintiff] notes that, even if a
         stay is brief in this case, any decision on the motion to remand could take a
         significant amount of time, maybe even over a year. This extensive delay is a
         significant prejudice to [Plaintiff] as it will not be able to effectively prosecute its
         case even though there is no federal jurisdiction. Further, judicial efficiency will
         not be promoted because the case should proceed in state court as soon as possible
         since there is no federal jurisdiction in this case.

  Dinwiddie County, Va. v. Purdue Pharma, L.P., 2019 WL 2518130, at *7 (E.D. Va. June 18, 2019)

  (granting motion to remand and denying motion to stay). See also City of Worcester v. Purdue

  Pharma L.P. (Doc. No. 55-7, p. 4) (“Needlessly causing delays when there is clearly no jurisdiction

  would . . . constitute a travesty of justice.”). Defendants, for their part, have not demonstrated how

  they will be prejudiced by the prompt decision of this matter.

  II.    CONCLUSION

         For the foregoing reasons, and for the additional reasons stated in their previously filed

  Remand Motion, Plaintiffs respectfully request that the Court consider the Remand Motion on an

  expedited basis and order the action remanded to the Seventeenth Judicial Circuit, Broward

  County, Florida.

  Dated: January 6, 2020                                Respectfully Submitted,

                                                 By:    /s/ William R. Scherer
                                                        William R. Scherer
                                                        Conrad & Scherer, L.L.P.
                                                        633 South Federal Highway
                                                        Eighth Floor
                                                        Fort Lauderdale, FL 33301
                                                        Tel. (954) 847-3362
                                                        wscherer@conradscherer.com




                                                    7
Case 0:19-cv-62992-JEM Document 55 Entered on FLSD Docket 01/06/2020 Page 9 of 10



                                            Bruce S. Rogow
                                            Tara A. Campion
                                            Bruce S. Rogow, P.A.
                                            100 N.E. 3rd Avenue, Ste. 1000
                                            Fort Lauderdale, FL 33301
                                            Tel. (954) 767-8909
                                            brogow@rogowlaw.com
                                            tcampion@rogowlaw.com

                                            John W. (Don) Barrett
                                            David McMullan, Jr.
                                            Richard Barrett
                                            Sterling Starns
                                            P.O. Box 927
                                            404 Court Square North
                                            Lexington, Mississippi 39095
                                            Ph: (662) 834-2488
                                            Fax: (662) 834-2628
                                            dbarrett@barrettlawgroup.com
                                            dmcmullan@barrettlawgroup.com
                                            rrb@rrblawfirm.net
                                            sstarns@barrettlawgroup.com

                                            Jonathan W. Cuneo
                                            Cuneo Gilbert & LaDuca, LLP
                                            Suite 200
                                            4725 Wisconsin Ave., NW
                                            Washington, DC 20008
                                            Telephone: (202)789-3960
                                            Facsimile: (202) 789-1813
                                            jonc@cuneolaw.com

                                            Attorneys for All Plaintiffs




                                        8
Case 0:19-cv-62992-JEM Document 55 Entered on FLSD Docket 01/06/2020 Page 10 of 10



                                      CERTIFICATE OF SERVICE

          I hereby certify that on this 6th day of January,2020 I caused the foregoing document to be

   filed with the Clerk of this Court via the CM/ECF system, which will send a Notice of Electronic

   Filing to all counsel of record.

   Dated January 6, 2020                               /s/ William R. Scherer
                                                       William R. Scherer
                                                       Conrad & Scherer, L.L.P.
                                                       633 South Federal Highway
                                                       Eighth Floor
                                                       Fort Lauderdale, FL 33301
                                                       Tel. (954) 847-3362
                                                       wscherer@conradscherer.com




                                                   9
